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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

 CRIMINAL ACTION NO. 16-10-DLB-CJS-1
 CIVIL ACTION NO. 18-122-DLB-CJS

 UNITED STATES OF AMERICA                                                     PLAINTIFF


 v.             ORDER ADOPTING REPORT AND RECOMMENDATION


 TRAVIS RAYSHAWN CLARK                                                       DEFENDANT

                         * *   * *   * *   * *       * *   * *   * *   * *

        This matter is before the Court upon the August 31, 2020 Report and

 Recommendation (“R&R”) of United States Magistrate Judge Candance J. Smith (Doc.

 # 171), wherein she recommends that Defendant’s Motion to Vacate, Set Aside or Correct

 Sentence pursuant to 28 U.S.C. § 2255 (Doc. # 126) be denied.

        No objections having been filed, and the extended time to do so having now

 expired, (Doc. # 171), the R&R is ripe for the Court’s consideration. The Court having

 reviewed the R&R, concluding that it is sound in all respects, and being otherwise

 sufficiently advised,

        IT IS ORDERED as follows:

        (1)    The Magistrate Judge’s Report and Recommendation (“R&R”) (Doc. # 171)

 is hereby ADOPTED as the findings of fact and conclusions of law of the Court;

        (2)    The Defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant

 to 28 U.S.C. § 2255 (Doc. # 126) is hereby DENIED;



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        (3)    The Defendant’s Motion for Leave to File Amended § 2255 Motion (Doc.

 # 136) is DENIED;

        (4)    For the reasons set forth in the Magistrate Judge’s R&R (Doc. # 171), the

 Court determines there would be no arguable merit for an appeal in this matter and,

 therefore, NO CERTIFICATE OF APPEALABILITY SHALL ISSUE; and

        (5)    A separate Judgment will be filed concurrently herewith.

        This 2nd day of October, 2020.




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